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                                      No. 23-10718


                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


  Jennifer VanDerStok; Michael G. Andren; Tactical Machining, L.L.C., a limited liability
        company; Firearms Policy Coalition, Incorporated, a nonprofit corporation,
                                                Plaintiffs-Appellees,

   Blackhawk Manufacturing Group, Incorporated, doing business as 80 Percent Arms;
Defense Distributed; Second Amendment Foundation, Incorporated; Not An L.L.C., doing
                    business as JSD Supply; Polymer80, Incorporated,
                                                Intervenor Plaintiffs-Appellees,

                                               v.
  Merrick Garland, U.S. Attorney General; United States Department of Justice; Steven
Dettelbach, in his official capacity as Director of the Bureau of Alcohol, Tobacco, Firearms
         and Explosives; Bureau of Alcohol, Tobacco, Firearms, and Explosives,
                                                    Defendants-Appellants.


                     On Appeal from the United States District Court
                          for the Northern District of Texas


        REPLY IN SUPPORT OF EMERGENCY MOTION PURSUANT
          TO CIRCUIT RULE 27.3 FOR STAY PENDING APPEAL


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                       INTRODUCTION AND SUMMARY

       Plaintiffs do not dispute that the Rule they challenge advances critical public-

safety and law-enforcement interests by keeping firearms out of the hands of

individuals who cannot lawfully possess them and preventing the proliferation of

untraceable firearms. Plaintiffs likewise do not dispute that the Rule does not prohibit

any plaintiff from purchasing or selling any firearm. Plaintiffs also fail to show that the

Rule conflicts with the statute—the basis upon which the district court vacated the

Rule. Plaintiffs nonetheless ask this Court to leave in place the district court’s

judgment vacating the Rule in its entirety and permitting plaintiffs—and all other

entities—to continue to deal in unserialized firearms without performing background

checks. This Court should decline that invitation.

       As the government demonstrated in its stay motion, the district court’s decision

to vacate the Rule was incorrect on every level: each of the challenged provisions of

the Rule comports with the statute, and there is no warrant for the court’s universal

vacatur of the entire Rule, especially as the district court’s order finds fault with only

discrete portions of the rule. Plaintiffs rebut none of these showings. On the remedy,

plaintiffs fail to explain how the district court’s universal vacatur—of provisions

plaintiffs do not challenge and as applied to third parties—could possibly be necessary

to remedy their alleged injuries. And on the equities, plaintiffs fail to explain how any

minimal costs the Rule engenders could possibly outweigh the critical public-safety

and law-enforcement interests advanced by the Rule. This Court should stay the
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vacatur in full. In the alternative, it should stay the vacatur as to the provisions not

held unlawful by the district court and as to parties other than plaintiffs.

                                     ARGUMENT

I.     The Government Is Likely to Prevail on the Merits

       The district court vacated the Rule based on its conclusion that two provisions

of the Rule violate the Gun Control Act. Plaintiffs fail entirely to rebut the

government’s showing that this conclusion was erroneous. Nor do plaintiffs explain

how it was proper for the district court to vacate the entire Rule, which has an express

severability provision. A stay pending appeal is therefore warranted.

       A. The government demonstrated in its stay motion that the district court erred

in concluding that the Rule’s provision making clear that a “frame” or “receiver”

(terms not defined in the statute) includes a partially complete, disassembled, or

nonfunctional frame or receiver that may “readily” be converted into a functional one,

see 27 C.F.R. § 478.12(c), conflicts with the Gun Control Act. This provision

implements the text of the statute and continues ATF’s longstanding practice of

treating certain partially complete frames or receivers as frames or receivers for these

purposes. Any contrary approach would permit individuals to circumvent federal

firearms requirements that keep firearms out of the hands of felons and other

prohibited persons and enable law enforcement to trace firearms used in crimes. See

Mot. 8-11.



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      Plaintiffs barely engage with these points. Instead, they rely almost entirely on

the proposition, endorsed by the district court, that Congress implicitly precluded the

Rule’s interpretation because a different provision of the definition of “firearm”

includes nonfunctional versions that may “readily” be converted or assembled to

functional versions but the provision relating to frames and receivers does not. See

VanDerStok Resp. 8-9. But the government demonstrated the error of this argument

in its stay motion: it “proceeds from the incorrect premise that § 921(a)(3)(B) defines

‘frame or receiver’ and so some inference may be drawn from the nonexistence of

‘readily’ language in that provision.” Stay Mot. 10.

      Beyond that, plaintiffs’ only other substantive argument is that the Rule

contradicts the statute by sweeping within the definition of “frame” and “receiver”

items that are “not frames or receivers but merely could be made into them.”

VanDerStok Resp. 10-11. But as the government explained, the Rule does not

regulate items that are “not frames or receivers”; it simply defines as frames or

receivers those partially complete frames and receivers that are designed to, or may

readily be converted to, function as frames or receivers. Stay Mot. 10-11. Plaintiffs do

not dispute that this understanding is consistent with Congress’s approach across the

firearms laws. And to the extent plaintiffs suggest that only fully functional frames

and receivers are covered by the statute, their argument would prove far too much. A

violent felon could simply purchase, for example, a frame or receiver with a single

extra plastic tab or with one small piece missing and wait to complete the assembly
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until the moment he intended to use it in a crime. That result would make a mockery

of the regulatory scheme, and even plaintiffs do not affirmatively defend that

implication of their arguments.

       In short, the Rule implements Congress’s direction and properly adheres to the

well-established principle that statutes should be interpreted “to work rather than

fail.” Antonin Scalia & Bryan A. Garner, Reading Law 63 (2012) (explaining the

presumption against ineffectiveness).

       B. As the government demonstrated, the Rule’s clarification that certain

weapon parts kits constitute “firearms” under the Gun Control Act also comports

with the statute. The Act’s definition of “firearm” as including any weapon that “is

designed to or may readily be converted to expel a projectile by the action of an

explosive,” 18 U.S.C. § 921(a)(3)(A), makes clear Congress’s intent to cover certain

partially complete, or nonoperational, weapons. A weapon parts kit that enables the

ready assembly of an operational firearm plainly satisfies the statute’s definition: it is

both “designed to” and “may readily be converted” to be an operational firearm.

Fundamentally, such a kit is no different from a disassembled firearm, and consistent

with the Rule’s conclusion, courts have long held that such weapons may constitute

“firearms.” See Stay Mot. 11-13.

       The only plaintiffs to address this provision nowhere engage with the statutory

text nor do they even attempt to refute ATF’s plain-text explanation that a weapon

parts kit containing the parts necessary to readily assemble an operational firearm is
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“designed to” be, and “may readily be converted” to be, an operational firearm. See

VanDerStok Resp. 11-13. Nor do plaintiffs offer any persuasive response to the

longstanding precedent cited by the government holding that even disassembled or

nonoperational weapons may constitute “firearms” under the “designed to” or

“readily converted” prongs of the Gun Control Act’s definition. See Stay Mot. 12

(collecting cases). Indeed, plaintiffs do not dispute that a weapon parts kit is, in

essence, a disassembled firearm.

       Instead, the original plaintiffs primarily suggest that a weapon parts kit is

different from a disassembled firearm because a disassembled firearm “was, at least

once, a fully functional and complete firearm.” VanDerStok Br. 12. But nowhere do

plaintiffs justify a distinction between a complete assemblage of parts that is newly

gathered and one previously assembled. And their suggestion is untethered from the

statutory text, which looks only at what an assemblage of parts is “designed to” and

“may readily be converted to” function as—not at whether those parts were

previously assembled.

       C. Perhaps recognizing that they cannot persuasively demonstrate that the Rule

is contrary to the statute, the Defense Distributed plaintiffs spend much of their

response contending that “additional APA claims” that were “not ruled upon” by the

district court nevertheless support the vacatur. Defense Distributed Resp. 3. And in

particular, those plaintiffs argue that the Rule violates the APA because it does not


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follow the Second Amendment analysis required by New York State Rifle & Pistol Ass’n

v. Bruen, 142 S. Ct. 2111 (2022). Id. at 3-6.

       But that argument was not ruled on by the district court, and it does not

provide any basis for upholding the district court’s vacatur, which was entered on an

entirely different theory. In any event, the argument is unavailing. As an initial matter,

to the extent any aspects of the agency’s discussion could be understood as reflecting

a now-outdated legal test, see Bruen, 142 S. Ct. at 2125-31, any such error would

provide no basis for relief. The APA requires courts to take account of the “rule of

prejudicial error.” 5 U.S.C. § 706. Under that rule, “the burden of showing that an

error is harmful normally falls upon the party attacking the agency’s determination.”

Shinseki v. Sanders, 556 U.S. 396, 409-10 (2009). Here, plaintiffs fail to develop any

argument that the Rule violates the Second Amendment, which means they have not

met their burden of showing that any flaw in the agency’s explanation related to this

issue has prejudiced them.

       In any event, ATF correctly concluded that the Rule does not violate the

Second Amendment. The Supreme Court has confirmed that nothing in its decisions

interpreting the Second Amendment “cast[s] doubt” on “laws imposing conditions

and qualifications on the commercial sale of arms.” District of Columbia v. Heller, 554

U.S. 570, 626-27 (2008); see also Bruen, 142 S. Ct. at 2162 (Kavanaugh, J., joined by

Roberts, C.J., concurring) (same); McDonald v. City of Chicago, 561 U.S. 742, 786 (2010)

(plurality opinion) (same). As ATF explained, the statutory licensing, recordkeeping,
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and background check requirements implicated by the Rule are such commercial

restrictions; they “do not prohibit individuals from assembling or otherwise making

their own firearms.” 87 Fed. Reg. at 24,676. Nor do those requirements “burden the

ability of non-prohibited people to buy, sell, or possess firearms.” Id. Thus, as the

Rule properly explains, nothing in the Rule or the underlying statute “prevents law-

abiding citizens” from exercising the Second Amendment “right to bear arms in

public for self-defense.” Bruen, 142 S. Ct. at 2156.

       D. As the government explained in its stay motion, and as plaintiffs barely

contest, at the absolute least, the district court’s universal vacatur of the entire Rule

was overbroad.

       Plaintiffs’ only defense of the vacatur of the entire Rule is that the challenged

provisions are “central to the Final Rule” and so the rest of the Rule should be

vacated so “the agency” can decide “how it would like to proceed” with the rest of

the provisions. VanDerStok Resp. Br. 15. But the agency has already made that

decision: it made clear in the Rule that it intended for each provision to be severable.

See Stay Mot. 13-14. And plaintiffs fail to explain, for example, how the utility of the

Rule’s provisions extending recordkeeping requirements or regulating silencers

depends on the enforceability of the two provisions addressed by the district court. In

short, the remaining provisions of the Rule—which no plaintiff currently contends are

unlawful—operate independently of the challenged provisions and advance important

public safety interests of their own, as the government has explained. See id. at 17-18.
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Thus, at the least, the government is likely to succeed on its argument that the vacatur

of those provisions was overbroad.

      In addition, no plaintiff contends that the court’s vacatur of the rule as applied

to non-parties was necessary to remedy any injuries to the plaintiffs. Instead, plaintiffs

appear to suggest (at VanDerStok Resp. 14; BlackHawk Resp. 10) that the universal

vacatur was appropriate because vacatur is simply a universal remedy. But the

government already explained that this Court’s precedents make clear that vacatur is a

discretionary equitable remedy, not an automatic one, and that vacatur thus must be

limited by equitable and constitutional principles that require remedies be tailored to

redress the plaintiffs’ injury. See Stay Mot. 14-16. Nowhere do plaintiffs engage with

any of those precedents or principles, and the government is thus likely to succeed on

its argument that the district court’s universal vacatur—which was not justified with

any equitable balancing—is overbroad.

II.   The Remaining Factors Favor a Stay

      A. As the government explained in its stay motion, see Stay Mot. 16-19, vacatur

of the Rule would irreparably harm the government and the public, including by

permitting the continued proliferation of unserialized firearms (which the government

generally cannot trace when used in crimes) and by allowing felons and other

prohibited persons to continue to buy readily assembled firearms online without a

background check.


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       Plaintiffs’ primary response is to contend that the vacatur is not problematic

because it “merely reinstates the status quo that prevailed” before the Rule.

VanDerStok Resp. 16. But the very need for the Rule demonstrates the error in this

argument. As the Rule explains, unserialized firearms have proliferated in recent years,

with nearly 20,000 such firearms being reported to ATF as recovered from crime

scenes in 2021. See 87 Fed. Reg. at 24,656-57. Returning to a status quo that permits

the continued proliferation of such firearms—including to the very criminals who

most obviously have an incentive to purchase and use them—would inflict irreparable

public-safety harms.

       And although the BlackHawk plaintiffs suggest (at 7-8) that the harms ATF has

articulated are only “inconveniences” or “unwelcome adjustments,” those plaintiffs

do not even acknowledge the substantial public-safety harms that ATF has explained

would follow from any vacatur of the Rule.

       B. Conversely, plaintiffs do not seriously contend that they will be substantially

harmed by a stay of the vacatur. As the government has explained, see Stay Mot. 19-20,

the challenged provisions of the Rule do not forbid the sale or purchase of any

firearm. Instead, they only clarify that certain items, such as ready-to-assemble kits, are

“firearms” within the meaning of the statue and so must be sold in compliance with

the statutory requirements for firearm sales. But any plaintiff who wishes to purchase

or sell any item subject to those requirements may continue to do so.


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       In contending otherwise, plaintiffs do not articulate any substantial harm from

a stay of the vacatur. Instead, the only harm they suggest is that they might be

required to incur compliance costs—or that they might face criminal penalties if they

violate the Gun Control Act as implemented by the Rule. But as the government has

explained, the relevant compliance costs are the relatively minor costs of producing

and selling firearms—such as running background checks on purchasers—that tens of

thousands of licensees bear every day. See Stay Mot. 20. And plaintiffs can avoid any

criminal liability by simply complying with the statutory and regulatory requirements;

if they instead choose to disregard their obligations, any resulting liability would be

“self-inflicted” injury that “does not qualify as irreparable.” Texas v. Biden, 10 F.4th

538, 558 (5th Cir. 2021) (per curiam) (quotation omitted).

       And although the plaintiffs generally suggest (at VanDerStok Resp. 17;

BlackHawk Resp. 10; Defense Distributed Resp. 7-8) that this Court should grant

them an injunction pending appeal if this Court stays the vacatur, that suggestion is

unfounded. As the government has explained, it is likely to succeed on the merits of

its appeal, including with respect to the two provisions addressed by the district court.

And the equitable balancing cuts decisively in favor of permitting the Rule’s

requirements to remain in effect to ensure that firearms are sold in compliance with

statutory requirements that prevent prohibited persons from obtaining firearms and

that permit law enforcement to trace firearms that are used in crimes. There is thus no


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basis for providing plaintiffs with a separate injunction pending appeal if the Court

concludes that staying the vacatur is warranted.

                               CONCLUSION

      For the foregoing reasons, and those in the stay motion, the Court should grant

a stay of the judgment pending appeal. At a minimum, and in the alternative, the

Court should stay the vacatur to the extent that it vacates provisions of the Rule

beyond those addressed by the district court and as applied to non-parties.

                                                Respectfully submitted,

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July 2023




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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 21, 2023, I electronically filed the foregoing

response with the Clerk of the Court for the United States Court of Appeals for the

Fifth Circuit by using the appellate CM/ECF system. Participants in the case are

registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system except for counsel listed below, who will be served by US Mail:

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                                                 /s/ Sean R. Janda
                                                SEAN R. JANDA
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                      CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limit of Federal Rule of Appellate

Procedure 27(d)(2)(A) because it contains 2579 words. This motion also complies

with the typeface and type-style requirements of Federal Rules of Appellate Procedure

27(d)(1)(E) and 32(a)(5)-(6) because it was prepared using Microsoft Word 2016 in

Garamond 14-point font, a proportionally spaced typeface.



                                              /s/Sean R. Janda
                                             SEAN R. JANDA
